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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
(Underlying Criminal No. 14-660-SRC)

CIVIL ACTION No.
ANTHONY DELUCA,
PETITION/MOTION UNDER 28

Petitioner-Movant, >: U.S.C. § 2255 TO VACATE,
SET ASIDE, OR CORRECT SENTENCE
Vv. : BY PERSON IN FEDERAL CUSTODY
UNITED STATES OF AMERICA, : Sat at Sentencing: Hon. Stanley

R. Chesler, U.S.D.I.

MOTION

Anthony DeLuca (Prisoner Register No.: 67002-050, presently
confined at FCI Fort Dix, Joint Base MDL, New Jersey, by way of
motion to vacate, set aside or correct sentence pursuant to 28
U.S.C. § 2255, says.

1.(a} The judgment being challenged was entered in the
United States District Court for the District of New Jersey.

1.(b) The case number is 2:14-CR-660(SRC).

é.{a) The Judgment was filed on April 28, 2015. (Judgment

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annexed at at43-48) .

2.(b) The date of sentencing was April 29, 20154.

3. The sentence imposed was 12 months and 1 day. (A44).

4. The petitioner pleaded guilty to count 1 of an
Information charging Acceptance of Bribes ~ Racketeering,
contrary to 18 U.S.C. 1952(a} (3) and 18 U.S.C. 2 (Al to AT).

5. The petitiener pleaded guilty on November 17, 2014. See
the “Application for Permission to Enter Blea of Guilty” dated
November 17, 2014 (AS to Al5}) and the “Plea Agreement with
Anthony DeLuca” dated July 21, 2014. (AlL6 to 24).

6. The petitioner did not appeal his sentence.

7. The petitioner did file a Motion te Reduce his Sentence
on November 13, 2015, which was withdrawn on November 20, 2015.

&. The following is the basis for the petitioner’s
application:
GROUND ONE: THE PETITIONER DELUCA’S SENTENCE SHOULD BE VACATED
AND CORRECTED DUE TO SENTENCING COUNSEL'S INEFFECTIVNESS IN
VIOLATION OF PETITIONER’S SIZTH AMENDMENT RIGHT TO EFFECTIVE
COUNSEL; PETITIONER SHOULD BE RE-SENTENCED TO TIME SERVED AS HIS
SENTENCE IS BISPARATE AMONG (AND EXCESSIVE TO} DEFENDANTS WITH
SIMILAR RECORDS WHO HAVE BEEN SENTENCED FOR SIMTLAR CONDUCT

At sentencing on April 29, 2015 before the Honorable

Stanley R. Chesler, U.S.D.7., Dr. Deluca moved for “a

1 wa" denotes appendix filed separately.

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substantial variance.” (ST5-L8; B2S). Per the Presentence
investigation Report (PSR), Dr. DeLuca had a total offense level
ef 15 (84), with no prior juvenile adjudications (7195) and no

criminal history (996), and he faced “a quideline sentencing

range of 18 to 24 months.” (ST°12-8 to 11; A36).

At sentencing DeLuca’s good acts were discussed, and
numerous letter were submitted on his behalf. (ST5-22 to 6-21;
AZo to 30). In addition, Dr. DeLuca cooperated with the
government: “but not only did he just aqree to cooperate with
the government, he actually involved himself in proactive
cooperation.” (ST6-24 to 7-1; A30 to 31). There are also
“extraordinary family circumstances as a result of” Hurricane
Sandy, which resulted in the Deluca family losing their family
home. (ST8-6 to 10; A322}. Dr. DeLuca and his family have been
financially devastated. The case has alse taken a toll on Dr.
DeLuca’s children, one of whom suffers medically from gastro-
intestinal bleed due to stress-induced colitis.

Dr. DeLuca received only “$1500 in cash for a period of ten

months.” {ST8-20 to 21; A3?).

2 “ST” denotes sentencing transcript of April 29, 2015; annexed

to the Appendix at A25 to A42}.
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De. Deluca is currently suspended by the Medical Board and,
per a letter from the Medicaid Fraud Division dated November 16,
2015, has been debarred from participation in any Medicaid,
Pharmaceutical Assistance to the Aged and Disabled {PAAD) and
Senior Gold Discount and any other program administered by the
Division of Medical Assistance and Health Services (DMAHS}) for a
period of five years. He will also, in all likelihood, be
debarred by Medicare along with other insurance companies. (STB-
22 to $-2: A32-33)}.

As stated at the sentencing by defense counsel, “it wasn’t
Dr. DeLuca whe went out and sought this opportunity. It was his
partner through his relationship with the individual who worked
for BLS that brought this relationship and, basically, for lack
of better word, it fell into Dr. Deluca’s lap.” (ST7-13 to 18;
A311).

The government conceded that “specific deterrence is not
really in play. What we have here is a need for general
deterrence.” (STI1-7 to 11; A35).

The government incorrectly cited the case of Dr. Aponte as
“probably the closest metric to Dr. Deluca. He accepted bribes
For six months, received $18,000 cash, generated $175,000 in
revenue and was sentenced te 24 months, which was the bottom of
his guidelines range.” (ST11-15 to 19; A35). As will be shown

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in this petition, there were numerous similarly situated doctors
wig received far lesser sentences than Dr. Debuca. Indeed, Dr.
Deluca’s own partner (Br. John Vitali), who brought Dr. DeLuca
into the scheme, was sentenced by Judge Chesler te one year

of probation with 10 months of house arrest (Location Monitoring
Program} (A67}.

Even the government admitted that “Dr. Deluca, as defense
counsel has pointed cut, has dene something different than Dr.
Aponte did. Dr. Deluca made a sincere good-faith effort to
cooperate, which, as the court is aware, ultimately did not
result in the making of a 5K motion, but it is of note, it is
something cf value and the government, as you know, has asked
the court to take that into account in imposing sentence.”
{STLiL-20 to 12-1; A35 to 36). Dr. Debuca’s cooperation yielded
exposure of another lab. Yet it was Dr. Vitali (Dr. DeLuca’s
former partner} who received the 5K1.1 letter (instead of Dr.
BeLuca).

The government, noting the “attempted . . . cooperation”
sought a sentence below the guideline range: “What the value of
that good faith and failed attempted (sic} at cooperation should
be is not a particularly easy thing to put a number on. The
government has made an attempt to do so and is asking the court
to impose a sentence of one year and one day in this case.”

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{STl2-2 to 6; ABG).
Judge Chesier stated:

the government has made a
recommendation, which is that I go below the
quideline range because even though your
cooperation did not - efforts to cooperate
did net resuit in any benefit to the
government, that it reflected a sincere
heart-felt desire to make amends for what
you did and to try to stop it from happening
again with others, and the Court recognizes
that, indeed, the government's recognition
of that is appropriate. But I think the
government also in their recommendation has
made the right calculation. {ST15-3 to 12;
ASS).

Judge Chesler then sentenced Dr. BeLuca to “a term cf 12
months and one day.” (ST16-4 to 7; A46}. Forfeiture in the

amount of $16,500 was imposed (ST17-22 to 18-2; Adl to 42). The

forfeiture has been satisfied. (A4$}.

Dr. DeLuca surrendered on June 11, 2015 (A51} to begin his
sentence. He is presently serving that sentence at FCL. Fort
Dix, Joint Base MDL, New Jersey, with a projected release date
of May 8, 2016. (A52).

Petitioner submits that sentencing counsel was ineffective
for failing to raise properly all facts and legal arguments,
including the disparity argument of individuals in similar
positions (particularly his former partner Dr. John Vitali and
other physicians who were sentenced prior to Dr. DeLuca but

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received lesser terms) who had been sentenced in the same case
to either probation or shorter terms of imprisonment .

The best evidence that Dr. BDeLuca’s sentencing counsel was
ineffective is that Dr. Deluca’s medical practice partner, Dr.
John Vitale (a man who admittedly brought DeLuca into the
scheme, and who also received more money in illegal payments
than Dr. Deiuca), was sentenced by Judge Chesler to one year of
probation (with 10 months of home confinement) for his plea te
the identical charge as in Deiuca: Racketeering-Transporting in
Aid of Travel Act - Commercial Bribery, contrary to
38:1952 (a) (3) and 18:2 (A66).

Indeed, it should be stated at this point that the amount
that De, DeIuca received ("$1,500 in cash for a period of ten
months” fi.e., $15,006]; ST8-21; A352) is certainly one of the
lowest amounts of all the doctor defendants {see chart in

NorthJersey.com article dated May 25, 2015 captioned: “NJ.

medical brief scheme reached grand scale” at A55-57; the amount
is stated as “16,500” in this article annexed at A56).

Dr. Viteli received a sentence imposed by Judge Chesler of
one year probation/10 months’ home confinement on June 18, 2015—
-~less than two months after Dr. DeLuca received a sentence of
ene year and a day (see Vitali Judgment of Conviction at A66 to

FL}.
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While at sentencing the government cited the case of Dr.
Dennis Aponte as “prebably the closest metric toe Dr. Beluca” (he
accepted bribes for six months, received $18,000 cash, generateci
§175,000 in revenue and was sentenced to 24 months (STL1L-15 te
19; B35), in actuality, even at that time, there were several
other cases much more similar to Dr. DeLuca’s. Dennis Aponte,
who pleaded guilty to Racketeering Transporting in Aid of-Use of
Facility In Interstate Commerce in aid of Commercial Bribery
{the identical offense that Dr. Deluca pled guilty to, aithough
De. BDeluca’s JOC states the offense is “Acceptance of Bribes-
Racketeering”; contrary to 18:1952(a) (3) and 18.2} was sentenced
by Judge Chesler on July 7, 2014 to 24 months in prison. (Aponte
Judgment of Conviction at A5&S te 64}. As stated in a NJ.com
article dated July 7, 2014 captioned “Cedar Grove dector gets
two years in prison for role in $100 million bribery scheme”,
Aponte accepted $3,000 per month from Biodiagnostic Laboratory
Services (BLS) totaling $235,000. {A65}. The Aponte case is far
different from Deluca; not only did Dr. Deluca receive a far
smaller amount of money but DeLuca also cooperated.

Petitioner submits that sentencing counsel was ineffective
for failing te dispute the government’s claim that the Aponte
case was “probably the closest metric to Dr. Deluca.” In fact,

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there were many other cases involving defendants similarly
situated to Dr. Deluca who received either probation or far
lesser terms of imprisonment than Dr. DeLuca.

Effective representation would have revealed that there
were several cases/sentencings which occurred prior to the
sentencing in Deluca that are more closely aligned to the DeLuca
facts in which the doctors involved received far lesser and
disparate sentences. Dr. Claudio Dicovsky, aged 52 (who pleaded
guilty to the same offense as Dr. DeLuca) was sentenced by Judge
Chesler on January 5, 2015 to a term of three years of
probation. (Dicovsky Judgment of Conviction at A73 to 77).
According to the FAI’s Press Release “North Jersey Doctor
Sentenced to One Year of House Arrest and Three Years’
Prebation” dated January 5, 2015 (A788), “Dicovsky received more
than $224,000 in bribe payments from BLS, and BLS made more than
$800,000 through testing.” (A78). See also NJ.com article dated
January 5, 2015 “Paterson doctor sentenced in bleed lab scheme,
admits $200,000 in bribes, feds say” (A793).

Again, this is a far greater amount of monies than Dr.
DeLuca received.

Dr. Chirag Patel was sentenced on December 14, 2014, by
Judge Claire C. Cecchi following his plea to “Anti-~-Kickback
Violation” (42:1320a-TJb(b) (1})) to one year of probation. (Patel

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Tudgment of Conviction at ABO ta $5). Dr. Chirag Patel received
only one year of probation in spite of the fact that the amount
involved $89,180. {(A85).

De. John Green (a gastreenterclogy and internal medicine
dector; A92) pleaded guilty to Anti~Kickback Viclation and was
sentenced on October 22, 2014 by Judge Cecchi to a probationary
term of 2 years. (Green Judgment of Conviction at A86 to 91).

As stated in the Star-Ledger article dated December 5, 2013, Dr.

Green pleaded guilty te receiving illegal kickbacks; yet he was
given a probationary term and spared prison. (A92).

De. Rameshcha Kania was sentenced by Judge Cecchi on June
26, 2013, te a term of 2 months in prison following his plea to
“Anti-Kickback Violation” (42:1320a-7b(b)(1)) (Kania Judgment of
Conviction at AGS-105).

Dr. Lucio Cardoso was sentenced by Judge Cecchi on June 26,
2013, to a term of imprisonment of 4 months following his plea
co “Anti-Kickback Violation” (Cardoso Judgment of Conviction as
AL53-1538) .

De. Daisy Dequzman was sentenced by Judge Cecchi on
February 25, 2013, to a term of imprisonment of 6 months
following her plea te “Anti-Kickback Statute” (Deguzman Judgment
ef Conviction at A135 to 141). Per a United States Attorney’s
Office Press Release dated January 31, 2013, Br. Dequzman was

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also ordered to forfeit $23,595. (AL42-144). It should be noted
that a Law360 article dated July 11, 2013 (annexed at AlLO6-107),
states that Dr. Kania also received 3 months of home
eonfinement; Dr. Cardoso also received 4 months of home
conrinement; and Dr. Degquzman alse received 6 months of home
continement..

De, Mahesh Patel was sentenced by Judge Cecchi on May 20,
2014, to a term of imprisonment of 5 months following his plea

to “Anti-Kickback Violation.” (Mahesh Patel Judgment of

Conviction at ALOS toe 115). Dr. Mahesh Patel was a doctor
practicing internal medicine in Orange, New Jersey. (See US
Attorney’s Press Release dated May 16, 2014 at AL15-116).

De, Dov Rand was sentenced by Judge Cecchi on February 26,
2013, to a term of imprisonment of 5 months for “Anti-Kickback
Violation” (Rand Judgment of Conviction at All? to 123). See

NorthJersey.com article dated February 13, 2013 “Franklin Lakes

doctor sentenced in kickback scheme” which states that Dr. Rand
received Five months in federal prison and 5 months of home
confinement. {AL24).

Dr. Padma Siripurapu was sentenced by Judge Cecchi on
Cetober 30, 2013, to a term of imprisonment of 6 months.
{Siripurapu Judgment of Conviction at AlZ5 to 131). See

NJToday.net article dated October 25, 2013, which states that

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De. Giripurapu, who practiced internal medicine, received six
months of prison to be followed by five months of home
continement for receiving more than $50,000 in illegal cash
Kiekbacks. {AL32 to L324).

De. Yash Khanna was sentenced by Judge Cecchi on March 31,
2015, to a term cf imprisonment of % months following his pleas
te 6 counts including Conspiracy, Acts Involving Federal Health
Care Programs, and Willful Failure to File Return/Information
(Khanna Judgment of Conviction at Al44-159). As stated in The

American Bazaar article dated March 25, 2015 (AL51 to 152), Dr.

Khanna not only took kickbacks for diagnostic testing referrals
but failed to file tax returns on $1 million cf income over a
three-year period. (A151).

All of these doctors were involved in conduct samilar to
petitioner Deluca except that most of these dectors teok Ear
greater amounts in bribe money than DeLuca. Yet each of these
doctors received lesser sentences.

Der. Deluca’ s sentencing counsel should have brought up the
above cited cases in his Sentencing Memo to the Court.

In addition to Dr. DeLuca’s former partner Dr. Vitali (who
was the originator of the scheme who brought Dr. Deluca into the
plan) receiving a probationary term (with house arrest), Br.
Paul Ostergaard was also sentenced by Judge Chesler on May 13,

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2015 (less than one month after Dr. Deluca’s sentence) to a one
year probationary term (Dr. Ostergaard pleaded to the same
statute as DeLuca). See DeLuca Tudgmenr of Conviction (AS3 to

$7) and NorthJarsey.com article dated May 11, 2015: “Morris

County doctor spared prison term in bribery scheme.” (Da9&). As
stated in this article, Dr. Ostergaard “admitted pocketing more
than $50,000 in bribes.” (AS&@).

The following is @ chart which shows sentences of doctors
convicted of illegal kickbacks all prior to the defendant
DeLuca’s sentencing in which the dectors all received lesser

sentences than Dr. DeLuca’s one~-year~-and-a-day sentence:

DEPENPANT JUDGE SENTENCE DATE AMOUNT SENTENCE
1) Dr. Claudio Dicovsky Chesler 1/5/15 $224,000 3 years probation
2) Dr. Chiraq Patel Cecchi 12/14/14 $89,186 1 year probation
3} Dr. John Green Ceechi 10/22/14 At least $14,000 2 years probation
4) Dr. Rameschcha Kania Cecchi 6/26/13 $4,880 3 months prison
5) Dr. Lucio Cardoso Cecchi 6/26/13 $3,075 4 months prison
6) Dr. Daisy Degquzman Cecchi 2/25/13 $23,595 6 months prison
7) Dr. Mahesh Patel Cecchi 5/20/14 $6,600 5 months prison
8) Dr. Dov Rand Cecchi 2/26/13 More than $5,600 5 months prison
9) Dr. Padma Siripurapu Cecchi 10/30/13 More than $50,000 6 months prison
10} Dr. Yash Khanna Cecchi 3/31/15 Numerous Counts 9 months prison

Following the petitioner DeLuca’s sentencing, the following
doctors were both sentenced by Judge Chesler to less time than

the petitioner DeLuca.

DEFENDANT DATE OF SENTENCE AMOUNT SENTENCE
1) Dr. Paul Ostergaard 5/13/15 More than $50,000 1 year probation
2) Dr. John Vitale 6/18/15 $33,000 {joint} 1 year probation

(10 month’s house arrest}

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Again, Dr. dohn Vitale was Delwca’s partner whe brought the
scheme toe Dr. Deluca. In spite of the fact that Dr. Deluca alse
cooperated with the authorities, Dr. Vitale received a II year
probationary term while Dr. DeLuca received a one year and a day
Prison term.

De. DeLuca has pointed to a dozen dectors whe were
convicted of the same offense as in DeLuca, with most pleading
guilty to receiving illegal amounts greater than Dre. DeLuca, all
of whom received lower sentences. In fact, in five of these
cases the doctors received straight probation.

9. As stated above, sentencing counsel did not properly
vaise the disparity cof sentence/excessive sentence arguments to
the sentencing judge. The ineffective assistance of counsel at
sentencing argument has not been raised previocusly in any court.

LQ. Petitioner does not have any motion, petition or appeal
now pending in any court judgment/sentence he is challenging.

ii. The petition was represented by the following
attorneys:

(a) At the preliminary hearing, arraignment, plea and
sentencing: Patrick J. Eqan, Esq., Fox Rothschild, LLP, 2006
Market Street, 20t* Fleer, Philadelphia PA 101-3-3222.

(6b) At the Motion for Reconsideration of Sentence

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(withdrawn): Jay V. Surgent, Esq.; Weiner Lesniak, LLP, 629

Parsippany Road, P.O, Box 0488, Parsippany, New Jersey O7054,

iZ. The petitioner was sentenced on one count of an
LnCOrmacion.
13. Whe petitioner dees not have any future sentence to.

Serve after he completes the sentence imposed by the judgment

under attack.

Therefore, movant asks that the Court grant the following
trelie®: vacate the sentence and resentence the petitioner to

time already served, or modify the sentence to allow him to

serye the remainder ¢Af kis S@nthente wices the ankle monitoring

Program ox, in the alternative, under home confinement.

AG, YU o/ angen
Jake oe slicgant, Bag:
UO |

Iodeclare under penalty of perjury that the foregoing is
true and correct.

‘Anthony DeLu

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